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                                   ABIN G D ON D IVISIO N                       BYJULIAC.       D   , L Rl*
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  JEFFREY CARLOS HALE,onbehalfofhim self
  and a11otherssim ilarly situated,

                        Plaintiff,
                                                         Case N o.1:10-cv-00059


  CNX GA S COM PA N Y ,LLC,

                        D efendant.



                      FIN A L JU DG M EN T A N D O R DER O F D ISM ISSA L


         THIS M ATTER com esbeforetheCourtupon theunopposed çiM otion forFinalApproval

  ofthe ClassSettlement''filed by Plaintiff. TheCourqbeing fully advised ofthepremisesofthe

  M otion,FIND S:

         1.      Plaintifffiled hisoriginalComplainton Septem ber23,2010,andfiled an

  Amended Complainton August1,2012.PlaintiffsAmended Complaintallegesclaim sfor

  declaratoryjudgmentandforvarioustortclaimsrelatingtotheallegedunderpaymentof
  royaltiesbased on Defendant'sproduction ofcoalbed methane.TheAm ended Complaintseeks

  both declaratory and m onetary relief.

         2.      Thepartieshavenegotiatedaclasssettlement(ççclassSettlementAgreement''
  Exhibit1totheM em orandllm in SupportofM otion forPreliminaryApprovalofClassAction

  Settlement(ç%preliminaryM otion'l).ThroughthisClassSettlementAgreement,Defendantwill
  fully and com pletely satisfy the claim s ofClass M em bersrelating to the calculation,paym ent,

  and/orreporting ofroyaltypaym entsowed to Plaintiffand Settlem entClassM em bersby paying



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  ClassM embersatotalpaym entof$4,000,000. CNX willalso paythecostofadm inistration of
  thesettlem entand an IncentiveAward Paymentof$5,000 to Plaintiff.Attom eys'feesand costs
  ofClassColm selwillbepaid f'
                             rom the$4,000,000.By entering into the ClassSettlem ent
  Agreement,neitherPlaintiffnorDefendantmakeany adm issionsrelating to the claimsand

  defensesraised in thislawsuit.

         3.     On M arch 7,2018,Plaintifffiled a m otion seeking prelim inary approvalofa

  Settlem entAgreem entthatresolvesthe claim softheSettlem entClassagainstDefendantbased

  on thecalculation,paym ent,and/orreportingofroyaltypaymentsby Defendant.

                TheSettlem entClass,asdefined in theparties'ClassAction Settlement

  Agreement(Ex.1! 1.29)(theçiAgreemenf),includesthefollowing:
                A11CBM claim ants who were identified by CT
                                                          NX in filings with
                the Virginia Gasand Oi1Board astmleased owners ofCBM estate
                interests and for whom CNX has applied,as of M ay 22,2017,
                ptlrsuantto Virginia Code j 45.1-361.22:24A),forthe release of
                fundsheld in escrow orintem ally,and al1such gasclaim antswho
                have received distributions9om escrow ordirectly from CNX asa
                result of a judicial detennination of ownership or agreement
                between Septel ber23,2010 mld January 1,2016.ççGasclaim ants''
                isasdefinedbyVirginiaCode j45.1-361.1.Excluded from the
                SettlementClass are:(a) CNX,(b) any person who serves as a
                judge in this civilaction and his/herspouse,(c) any individuals
                who havereceived a Court-supelwised accounting ofCNX 'SCBM
                royalty payments into escrow or internalsuspense,and (d) any
                person who operatesa CBM wellin Virginia and any person who
                holds a working interest in a CBM w ell operated by CN X in
                V irginia.

                Attached asExhibitç$1''to the M em orandum in Supportofthe Prelim inary

  A pprovalM otion isthe A greem entdescribing the claim sthatare being settled on behalfofthe

  Class(detinedastheççsettled Claims'),settingforththetermsoftheParties'settlement,and
  incop oratingthetermsofthisFinalJudgmentAnd OrderofDismissal(theGTinalJudgmenf').
  TheAgreementand itsterm s,includingthedefinitions,areincorporated into thisFinalJudgment




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  asiffully setforth herein.TheAgreem entand FinalJudgmentshallbereferredto collectively

  herein asthe ttsettlem ent.''

         6.      ThisCourtenteredan OrderdatedM arch20,2018(theGçpreliminaryApproval
  Order'')preliminadlyapprovingtheSettlementanddirectingthatnoticeoftheproposed
  Settlementbemailed to the Settlem entClass.TheCourtalso setahearing forAugust23,2018,

  to determ inewhethertheproposed Settlem entshouldbeapproved asfair,reasonableand

  adequate.

         7.      In accordancewiththeCourt'sPrelim inary ApprovalOrder,the Settlement

  AdministratorcausedtobemailedtopotentialmembersoftheSettlementClass(forwhom
  Defendanthadaddressesavailablefrom theiraccountingrecords)anotice(theSisettlement
 Notice'')inthefol'
                  m approvedbytheCout'
                                     tinthePreliminaryApprovalOrder.Attachedas
  ExhibitA totheNoticein FurtherSupportofPlaintiffsUnopposedM otion forFinalApproval

  ofClass Settlem entisthe A ffidavitofW illinm Atkinson which provides additionalinform ation

  concerning themailing ofnotice.TheCourtfindsthattheSettlem entNoticeprovided to

  potentialmem bersoftheSettlem entClassconstituted the bestand m ostpracticablenoticeunder

  thecircum stancesand included individualnoticeto a1lmem bersofthe Settlem entClasswho

  couldbeidentified by reasonable efforts,thereby complying fullyw ith dueprocessand Rule23

  oftheFederalRulesofCivilProcedure.

         8.      Defendantcausedto bem ailed totheappropriatefederaland state officialsthe

  materialsrequiredtobesubmittedbytheClassActionFairnessAct,28U.S.C.j 1711,etseq.
  (ççCAFA'').TheactionstakentocomplywithCAFA'SnoticerequirementsaremorepM icularly
  described in the N otice filed by D efendant,along w ith exhibits,on M arch 21,2018.

  A ccordingly,the CourtfindsthatCA FA 'S notice requirem entshavebeen satisfied.




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         9.     On August23,2018,the Courtheld ahearing on theproposed Settlem ent,at

  which tim eallinterestedpersonswere given an opportunityto beheard.Furtherm ore,theCourt

  hasread and considered allsubm issionsin connection with the Settlem ent. Having doneso,the

  Courthasdeterm inedthatapprovalofthe Settlementwillbestow asubstantialeconom icbenefit

  on the Settlem entClass,resultin substantialsavingsin tim eand m oneyto thelitigantsand the

  Courtandwillfurthertheinterestsofjustice,andthattheSettlementistheproductofgood-faith
  nrm'slength negotiationsbetween theParties.

         N OW ,TH EREFORE,GO OD CA U SE A PPEARTN G ,IT IS HEREBY O RD ERED ,

  A DJU D GED AN D D ECM ED TH AT :

         10.    The Apeement,including a11ofthetenusdefined therein including butnot

  lim ited to thedefinitionsofSçsettled Claim s,''isincorporated herein.A ny tenns used in this

  FinalJudgm entare governed by theirdetinitionsin the A greem ent. TheCourthasjtlrisdiction

  overthesubjectmatterofthislitigationanda11partiestothislitigation,includingallmembersof
  the Settlem entClass.

         11.    Thecertised Settlem entClassisdefined forpup osesofthe Agreem entandthis

  FinalJudgm entassetforth in Paragraph 4 above.

         12.    The Settlem entwasmadein good faith and itsterm sarefair,reasonable,and

  adequate asto the Settlem entClass. Therefore,the Settlem entis approved in al1respects,and

  shallbebinding upon,and intlreto thebenefitof,allm embersoftheSettlem entClass.

         13.    The personsand entitiesidentified in the A ppendix to the Settlem entA greem ent

  aretheSettlem entClassM embers.N o Settlem entClassM embersexcluded themselvesfrom the

  Settlem entClass.

         14.    A softhe Effective D ate,Plaintiffand the Settlem entClass M em bers,and each of




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  them,forthem selvesand theirrespectiveheirs,agents,officers,directors,shareholders,

  employees,consultants,jointventurers,partners,members,legalrepresentatives,successorsand
  assigns,shallfully and foreverrelease and discharge the Defendant,and itsparents,subsidiaries,

  affiliatedentities,predecessors,successorsand assignsand each oftheirpresent,fonnerand

  futlzreofficers,directors,employees,agents,atly thirdparty paymentprocessors,independent

  contractors,successors,assigns,attorneysandlegalrepresentatives(collectively,tr efendant
  Releasees'')from anyandalloftheSettledClaims,exceptfortherightsandobligationscreated
  by theAgreem ent,and shallnotcom mence,participate in,prosecuteorcauseto be comm enced

  orprosecuted againsttheDefendantReleaseesany action orotherproceeding based upon any of

  the Settled Claim sreleased ptlrsuantto the A greem ent. The relief afforded underthe A greem ent

  f'
   ully and completely satisfiesthe Settlem entClassM embers'Settled Claim s,asdefined in the

  SettlementAgreement.ThisReleasealso covers,withoutlim itation,any and a1lclaim sfor

  attorneys'fees,costs,ordisbtlrsementsincurred by ClassCotmselorany othercolm sel

  representingPlaintifforSettlem entClassM em bersorby PlaintiffortheSettlem entClass

  M embers,orany ofthem ,in connection with orrelated in any mannerto thiscase,thesettlem ent

  ofthiscase,theadm inistration ofthisSettlem entand/orthe Settled Claim sexceptto theextent

  otherwisespecified intheAgreement.The FinalJudgmentshallnot,however,operateorbe

  construed to release any claim sthePartiesmay haveagainstany person orentity who isnota

  Party totheAgreem entexceptasprovided above.

                Al1SettledClaimsaredismissedwithprejudice.AllclaimsthatarenotSettled
  Claimsaredismissedwithoutprejudice.
         16.    N eitherthis FinalJudgm ent,the A greem entnorany docllm entreferred to herein

  norany action taken ptlrsuantto---orto carry out- the Settlem entm ay be used as atladm ission




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  by oragainstDefendantofany fact,claim ,assertion,m atter,contention,fault,culpability,

  obligation,wrongdoing orliability whatsoever.

         17.     ThePlan ofAdm inistration attached asExhibitE totheAgreem ent,includingthe

  plansforallocation and distribution setforth therein,ishereby approved and shallbe

  implem entedby usingthebestreasonably availabledataand usingthem ostpracticablem ethod

  underthe circum stances.

         18.     The Courthas,by separate order,grmlted Class Counsel's GsM otion foran A w ard

  ofAttorneys'FeesandExpensesand foran IncentiveAward Paym entto ClassRepresentatives.''

  Theamountofattom eys'feesandLitigation Expensesawardedto ClassCotmselshallbe

  distributed to ClassCounselfrom theEscrow Accotmtpttrsuanttotheterm softheEscrow

  A greem ent.

         19. TheCourtreservesjudsdictionoverthismatter,theParties,andal1cotmsel
  herein,withoutaffectingthefinalityofthisFinalJudgment,includingover(a)implementing,
  admirlistering and enfbrcing thisSettlementand any award ordistribution from theSettlem ent

  Funds;(b)dispositionoftheSettlementFunds;and(c)othermattersrelatedorancillarytothe
  foregoing.

         20.     N othing setforth in thisFinalJudgmentshallbeconstrued to m odify orlimitthe

  term softheAgreem ent,butrather,theAgreementand thisFinalJudgmentareto be construed

  togetherasone Settlementbetween theParties.

         21.     TheSettlementandthisFinalJudgmentshallhavenoresjudicata,collateral
  estoppel,or otherpreclusive effectasto any claim sotherthan the Settled Claim s.

         22.     TheClerk isdirected to tenninatethecasefrom theCourt'sactivedocket.




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                                           EN TER : A ugust23,2018




                                           Jnm e .Jones
                                           United StatesDistrictJudge




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